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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 PENGUIN RANDOM HOUSE LLC, et al.,

       Plaintiffs,

 v.                                            Case No. 6:24-CV-01573-CEM-RMN

 BEN GIBSON, in his official capacity as
 Chair of the Florida State Board of
 Education, et al.,

       Defendants.
 ___________________________

          PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTIONS
         FOR SUMMARY JUDGMENT AND REPLY IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       The State Defendants devote nearly half of their brief to repeating virtually

 verbatim arguments that this Court has already rejected, effectively seeking

 reconsideration of this Court’s prior rulings. But the State Defendants do not even

 attempt to satisfy the standard for a motion for reconsideration—nor could they,

 because there has been no change in controlling law or discovery of new facts, and the

 Court did not err in its prior holdings.

       Nor do the State Defendants offer any facts whatsoever to support their

 summary judgment arguments or to dispute Plaintiff’s facts, even though it is their

 burden to do so on the “fact-intensive” government speech doctrine analysis. (Order,

 ECF No. 106, at 21.)
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        Defendants also again challenge standing, asserting that Plaintiffs’ injuries are

 not traceable to or redressable by them. The State Defendants and School District

 Defendants point fingers at each other, asserting that Plaintiffs’ injuries are caused

 solely by the other set of Defendants. Both sets of Defendants astonishingly suggest

 that a declaration of unconstitutionality would not remedy Plaintiffs’ injuries, even

 though such a declaration would require the State Defendants to change their

 mandatory objection form and conform their enforcement powers to the requirements

 of the First Amendment and the School District Defendants to comply with the

 Constitution to the extent that they continue to remove school library books.

        In stark contrast, Plaintiffs’ undisputed factual record (1) demonstrates that they

 have suffered First Amendment injury that is traceable to and redressable by both sets

 of Defendants; (2) explains the thoughtful consideration given to library book selection

 and removal by Florida educators in their professional discretion—discretion that the

 Challenged Provisions supplant; and (3) sets forth categories of applications of the

 Challenged Provisions, which illustrate that the unconstitutional applications of the

 Challenged Provisions vastly outweigh the few, if any, constitutional applications.

 Plaintiffs have clearly met their burden on summary judgment. The Court should

 grant Plaintiffs’ motion and deny Defendants’ motions for summary judgment. 1




 1
   The “Challenged Provisions” are the prohibitions on material made available in a school or
 classroom library that (a) “describes sexual conduct” under                Florida Statute Section
 1006.28(2)(a)(2)(b)(II) and (b) is “pornographic” under Florida Statute Section 1006.28(2)(a)(2)(b)(I).



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 I.     The State Defendants Effectively Seek Reconsideration Of This Court’s
        Prior Ruling.

        The State Defendants devote a substantial portion of their brief to arguments

 that they previously asserted in their motion to dismiss—arguments that this Court has

 already considered and rejected. Among other things, the State Defendants reassert

 that (1) Plaintiffs’ complaint is a shotgun pleading (State Br., ECF No. 109, at 4-5), (2)

 Count II of Plaintiffs’ claims lacks a cause of action or is barred by the Eleventh

 Amendment (id. at 13-16), and (3) the removal of school library books is the

 withdrawal of a government benefit (id. at 29-32). 2 The Court already rejected each of

 these arguments and there has been no change in controlling law or discovery of new

 evidence since this Court’s February 28, 2025 ruling; nor have the State Defendants

 shown clear error in the Court’s denial of their motion to dismiss.

        “Reconsideration of a previous order is an extraordinary measure and should

 be applied sparingly.” Scelta v. Delicatessen Support Servs., Inc., 89 F. Supp. 2d 1311,

 1320 (M.D. Fla. 2000). For that reason, courts recognize only three grounds for

 reconsideration of an interlocutory order: “(1) an intervening change in controlling

 law; (2) the availability of new evidence; and (3) the need to correct clear error or

 manifest injustice.” Venerus v. Avis Budget Car Rental, LLC, No. 613CV921ORL41GJK,

 2019 WL 13203849, at *2 (M.D. Fla. June 20, 2019). The State Defendants do not

 even attempt to contend any of these three grounds applies here—nor could they.

 2
  The State Defendants also raise arguments concerning the traceability and redressability elements of
 Article III standing that this Court already rejected. Those arguments are discussed more fully in
 Section II(B) of this brief.



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       First, as the Court correctly concluded in its prior ruling, Plaintiffs’ complaint

 is not a shotgun pleading. In their summary judgment brief, the State Defendants do

 not identify any change in the law, new evidence, or clear error by this Court that

 would compel a different result. Even so, the State Defendants reiterate their failed

 argument, ignoring the Court’s explanation that the State Defendants’ “thorough and

 detailed” motion to dismiss “addressing the claims brought by Plaintiffs belies any

 argument that the complaint is a shotgun pleading.” (Order at 15.) For this reason,

 among others, the Court rejected the State Defendants’ argument to dismiss the

 complaint as a shotgun pleading.

       Second, the State Defendants oppose Count II on the same grounds that this

 Court previously rejected, identifying no change in law, new evidence, or clear error

 on the part of this Court that would justify reconsideration. Count II of Plaintiffs’

 complaint properly alleges a cause of action seeking a declaration to remedy their

 constitutional injuries. That count seeks “neither an advisory opinion nor relief that

 violates the Eleventh Amendment” because “the declaratory relief sought would

 resolve the case or controversy before the Court” and “[a]ny declaration issued would

 ultimately instruct State Defendants on how to conform their conduct to the

 restrictions imposed by the First Amendment.” (Id. at 12-14.) The State Defendants

 do not dispute that Plaintiffs are entitled to relief on Count II on the merits—that the

 rules of statutory construction compel a construction of “pornographic” that is

 consistent with “harmful to minors” as defined by Section 847.001(7) (if the




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 prohibition on books containing so-called “pornographic” content is not declared

 unconstitutional). The Court should again reject the State Defendants’ argument.

       Finally, the State Defendants challenge this Court’s denial of their government

 benefit and funding argument. As this Court previously explained, the Challenged

 Provisions do not “evenhandedly withdraw access to public school libraries or

 particular books throughout the state.”        (Order at 22.)   Not only do the State

 Defendants fail to identify any change in law or newly discovered evidence to support

 their argument, but they offer no new law or facts in support of this argument

 whatsoever. Instead, the State Defendants’ government benefit argument is nearly

 verbatim the argument that they previously presented to this Court in their motion to

 dismiss—an argument that this Court considered and rejected.             As this Court

 previously ruled, the Challenged Provisions restrict “speech . . . , not funding.” (Id.)

       Because the State Defendants merely “disagree with the Court’s analysis and

 re-hash previous arguments” from their motion to dismiss, their arguments that (1)

 Plaintiffs’ complaint is a shotgun pleading, (2) Count II of Plaintiffs’ claims lacks a

 cause of action or is barred by the Eleventh Amendment, and (3) the removal of school

 library books is the withdrawal of a government benefit should all be rejected. See,

 e.g., Daytona Friends Image, LLC v. United States, No. 619CV1318ORL41DCI, 2019 WL

 13183554, at *1 (M.D. Fla. Sept. 26, 2019); Venerus, 2019 WL 13203849, at *2.




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 II.    Plaintiffs Have Standing.

        A.     Plaintiffs Have Prudential Standing To Bring Their Claims.

        Both sets of Defendants ignore that the undisputed facts show that Plaintiffs

 themselves have suffered First Amendment injury as a result of the Challenged

 Provisions. It is simply not true that “Plaintiffs do not challenge any particular

 applications of Florida law that violate their rights.” (State Br. at 11.) Plaintiffs have

 identified books that have been removed under the Challenged Provisions (including

 via the State Defendants’ mandatory objection form), resulting in violations of their

 First Amendment rights. (See Plaintiffs’ Mot., ECF No. 107, at 19, 21; Ex. A to

 Plaintiffs’ Mot. ¶ 11; Ex. B to Plaintiffs’ Mot. ¶¶ 8-10; Ex. L to Plaintiffs’ Mot. ¶ 4; Ex.

 M to Plaintiffs’ Mot. ¶ 5.) It is irrelevant that the Challenged Provisions do not directly

 “regulate authors, publishers, and students,” because in the First Amendment context,

 plaintiffs need not be subject to penalties to have standing. Instead, plaintiffs need

 only show that that they have been injured by the speech restriction. See Bantam Books,

 Inc. v. Sullivan, 372 U.S. 58, 64 n. 6 (1963) (holding that publisher plaintiffs had

 standing to challenge a state law because they had suffered a First Amendment injury:

 the “impaired sales of . . . two books published by” the plaintiffs); Simon & Schuster,

 Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105, 116 (1991) (ruling for

 publisher on claim that state law requiring authors’ income from works describing their

 crimes be made available to victims was inconsistent with the First Amendment).

 Otherwise, the government could violate First Amendment rights without

 consequence.


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       The sole case on which Defendants rely for their prudential standing argument

 has no relevance to this case. In Mata Chorwadi, Inc. v. City of Boynton Beach, hotel

 owners challenged a nuisance ordinance on behalf of themselves and their hotel guests.

 66 F.4th 1259, 1265 (11th Cir. 2023). The Eleventh Circuit first assessed whether the

 ordinance had caused First Amendment injury to the hotel owners and found that it

 did not, because the hotel owners and their employees admitted that the ordinance

 had not chilled or otherwise impacted their speech. Id. at 1264. Therefore, the

 Eleventh Circuit reasoned, the hotel owners’ First Amendment rights were not

 violated. Id. The hotel owners next asserted that they could bring claims to remedy

 violations of their guests’ First Amendment rights under the overbreadth doctrine,

 despite the fact that those guests were not similarly situated to the hotel owners. The

 Eleventh Circuit recognized that the overbreadth doctrine is an “exception[] to the

 prohibition against asserting third-party rights” but ultimately held that it did not apply

 in this situation due to the lack of evidence of First Amendment injury suffered by the

 hotel guests and the fundamental “misalignment between the hotel owners’ interest

 and hotel guests’ interests.” Id. at 1264-66.

        In direct contrast, Plaintiffs themselves have suffered First Amendment injury

 as a result of the Challenged Provisions. The Publisher and Author Plaintiffs have

 identified books that they published and authored that have been unconstitutionally

 removed from school libraries under Challenged Provisions (including via the State

 Defendants’ mandatory objection form), and the Student Plaintiffs have identified

 books that they planned to read from their school libraries that have been

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 unconstitutionally removed under the Challenged Provisions (including via the State

 Defendants’ mandatory objection form). (See Plaintiffs’ Mot. at 19, 21; Ex. A to

 Plaintiffs’ Mot. ¶ 11; Ex. B to Plaintiffs’ Mot. ¶¶ 8-10; Ex. L to Plaintiffs’ Mot. ¶ 4; Ex.

 M to Plaintiffs’ Mot. ¶ 5.) Plaintiffs do not seek to vindicate the rights of unrelated

 parties who are not similarly situated.          Rather, the Publisher Plaintiffs, Author

 Plaintiffs, and Student Plaintiffs ask this Court to remedy their own constitutional

 injuries, which remedies would also resolve the constitutional injuries suffered by

 similarly situated parties—other publishers, authors, and students, respectively.

        Moreover, in contrast to Mata Chorwadi, the factual record here demonstrates

 that the unconstitutional applications of the Challenged Provisions vastly outnumber

 any constitutional applications, justifying application of the overbreadth doctrine. (See

 Plaintiffs’ Mot. at 44-46; infra at 17-23, Section III(B).) The State Defendants do not

 clearly state what they believe the overbreadth doctrine to require for standing: they

 assert that facial overbreadth “should be reserved for cases in which a statute is

 constitutional as applied to the plaintiff but unconstitutional as applied to non-party

 claimants.” (State Br. at 12 (quoting Bd. of Trustees of State Univ. of N.Y. v. Fox, 492 U.S.

 469, 484-85 (1989)).) But they assert the opposite in faulting Plaintiffs for purportedly

 “not challeng[ing] any particular applications of Florida law that violate their rights.”

 (Id. at 11.) It is unclear whether, under the State Defendants’ theory of the overbreadth

 doctrine, Plaintiffs need to have suffered their own constitutional injuries to proceed

 on their claims or whether they are forbidden from proceeding on their claims because

 they have suffered their own constitutional injuries.

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       However, the Supreme Court has granted relief under the facial overbreadth

 doctrine where Plaintiffs themselves have suffered First Amendment injury. See, e.g.,

 Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 603, 615 (2021) (explaining that

 plaintiffs were affected by the law in question, which the Supreme Court found to be

 facially overbroad). Both sets of Defendants ignore Bonta, which illustrates that this is

 the paradigmatic facial overbreadth case, because the Challenged Provisions violate

 First Amendment rights in the same way “in every case.” Id. at 615.

       B.      Plaintiffs Have Article III Standing To Bring Their Claims Against
               The State Defendants.

       In their motion for summary judgment, Plaintiffs presented evidence that they

 have suffered First Amendment injury, including at the hands of the State Defendants

 due to their mandatory objection form. In response, the State Defendants do not

 seriously challenge the injury element of standing and instead focus on arguments

 concerning traceability and redressability that this Court previously rejected. The

 Court should hold that Plaintiffs have standing to pursue their claims against the State

 Defendants.

       The State Defendants do not offer any evidence to contradict the book removals

 that give rise to Plaintiffs’ First Amendment injuries, and Plaintiffs’ evidence to

 support their injuries demonstrate that those injuries are anything but “speculative” as

 the State Defendants claim. (State Br. at 9.)

       Contrary to the State Defendants’ contentions, the First Amendment right to

 receive information is well established in constitutional law. See, e.g., Martin v. City of



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 Struthers, Ohio, 319 U.S. 141, 143 (1943) (The authors of the First Amendment “chose

 to encourage a freedom which they believed essential if vigorous enlightenment would

 triumph over slothful ignorance,” which “embraces the right to distribute literature

 and necessarily protects the right to receive it.” (citation omitted)); Stanley v. Georgia,

 394 U.S. 557, 564 (1969) (“It is now well established that the Constitution protects the

 right to receive information and ideas.”) (collecting cases); Reno v. Am. C. L. Union,

 521 U.S. 844, 874 (1997) (recognizing the “constitutional right to receive”

 information).

       The Supreme Court’s opinion in Murthy v. Missouri, 603 U.S. 43 (2024), did not

 modify the right to receive information in any way. Rather, the Supreme Court in

 Murthy noted its repeated recognition that a “First Amendment right to receive

 information and ideas” exists. Id. at 75. The Court’s rejection of the plaintiffs’

 standing argument in Murthy was based not on the right to receive information but on

 the plaintiffs’ failure to “point to any specific instance of content moderation that

 caused them identifiable harm” or identify “any specific speakers or topics that they

 [were] unable to hear or follow.” Id. Therefore, the plaintiffs did not suffer a concrete,

 particularized injury and did not have Article III standing. In contrast, here the

 Student Plaintiffs identified specific harms sufficient to give them standing. Student

 Plaintiffs R.K. and J.H. demonstrated concrete and particularized injuries to their right

 to receive information by identifying specific books they wanted to read from their

 school libraries that the Challenged Provisions had required be removed. (See Ex. L

 to Plaintiffs’ Mot. ¶¶ 4, 8–9; Ex. M to Plaintiffs’ Mot. ¶¶ 5, 8–10.) As this Court

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 previously recognized, “censorship of social-media posts” as was at issue in Murthy is

 “readily distinguishable from that of published authors,” and “parents have an interest

 in challenging the prohibition of school library books they and their children desire to

 read.” (Order at 10.)

       As to the Article III traceability and redressability requirements, the State

 Defendants merely repeat arguments that this Court rejected when denying their

 motion to dismiss.      The State Defendants again contend that school districts’

 independent obligation to comply with the Challenged Provisions precludes a finding

 of traceability (State Br. at 7-8), but they ignore the coercive authority that the State

 Defendants have over the school districts. That coercive authority includes the power

 to “investigate” and “order compliance” with state laws, “to report a school district’s

 noncompliance to the legislature and recommend action be taken,” and “to withhold

 funds from the district until it complies.” See Fla. Stat. s. 1008.32(1)-(4). The State

 Defendants previously acknowledged these sweeping coercive powers in their motion

 to dismiss (ECF No. 83 at 8) but omit them now from their summary judgment brief

 to suggest that their authority includes only the ability to “request and receive

 information, data, and reports from . . . school districts” (State Br. at 8). The Court

 did not find the State Defendants’ argument persuasive previously (see Order at 6-7)

 and the State Defendants have offered no reason the Court should rule differently this

 time. Here, the Challenged Provisions “both operate[] on [the] State Defendants and

 afford[] them far greater authority to implement and enforce the law” than statutes at




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 issue in the State Defendants’ authority. (See id. at 7 (distinguishing City of South Miami

 v. Governor of Fla., 65 F. 4th 631 (11th Cir. 2023).)

        This Court also previously rejected the State Defendants’ argument that a

 declaratory judgment would not redress Plaintiffs’ injuries. The State Defendants

 facilitate the removal of school library books for unconstitutional reasons through the

 mandatory objection form that they promulgate and require school districts to use.

 Fla. Stat. s. 1006.28(2)(a)(2); Fla. Admin. Code r. 6A-7.0714(3)(c)-(d). They are also

 required to adopt rules to implement the special magistrate appeal procedure for books

 that have received an objection—a procedure under which they have ultimate

 authority to “approve or reject a recommended decision.”                    Fla. Stat. s.

 1006.28(2)(a)(6). As the Court previously held, “the remedy sought by Plaintiffs”

 against the State Defendants “amounts to a demand that the language in the objection

 form be altered. And that cannot be done unless the State Defendants do so. . . .

 Therefore, Plaintiffs’ alleged injury is both fairly traceable to the challenged action and

 redressable by a favorable reason.” (Order at 8.) There is no reason for the Court to

 rule differently now.

        C.     Plaintiffs Have Article III Standing To Bring Their Claims Against the
               School District Defendants.

        The School District Defendants do not dispute that Plaintiffs have suffered

 Article III injuries as a result of the Challenged Provisions. Instead, the School District

 Defendants contend that Plaintiffs lack standing to bring claims against them because




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 Plaintiffs have not demonstrated traceability and redressability. That argument suffers

 from two fundamental flaws.

        First, the School District Defendants contend that Plaintiffs’ injuries are not

 traceable to them because the injuries are traceable to the State Defendants. In doing

 so, the School District Defendants ignore that Plaintiffs’ injuries are traceable to both

 the State Defendants and the School District Defendants.             The School District

 Defendants are required to enforce the Challenged Provisions, including by removing

 school library books that contain content that “describes sexual conduct” or is

 “pornographic” based on the State Defendants’ mandatory objection form. The

 School District Defendants play a direct role in causing Plaintiffs’ injuries because it is

 they who ultimately remove books from school library shelves. That direct role is

 more than sufficient to satisfy the traceability requirement. See Wilding v. DNC Servs.

 Corp., 941 F.3d 1116, 1125 (11th Cir. 2019) (holding that, to satisfy the traceability

 requirement, plaintiffs need only show that their injuries are “connected with the

 conduct of which they complain”) (cleaned up).

        Second, the School District Defendants assert that they cannot redress any

 injury suffered by Plaintiffs because they “cannot change” the Challenged Provisions.

 (School Dist. Br., ECF No. 108, at 13.) This argument also fails. As this Court

 previously explained, “Any declaration issued would ultimately instruct [] Defendants

 on how to conform their conduct to the restrictions imposed by the First Amendment.”

 (Order at 13.) The School Board Defendants would not be “powerless to do anything

 other than use the state-mandated objection form” if the Court declares the Challenged

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 Provisions to be unconstitutional. (School Dist. Br. at 11.) Rather, if the Court

 declares the Challenged Provisions to be unconstitutional, the School District

 Defendants would be required to act in conformance with the First Amendment and

 no longer remove or prevent students from accessing books under the Challenged

 Provisions.      The Court should reject the School District Defendants’ standing

 arguments.

 III.   The Court Should Grant Summary Judgment In Plaintiffs’ Favor.

        A.      The Removal Of Library Books Is Not Government Speech.

        In arguing that the removal of school library books is government speech, the

 State Defendants double down on arguments from their motion to dismiss that this

 Court previously found unpersuasive. They also continue to rely on cases that do not

 concern library books 3 (and even cases that do not concern the government speech

 doctrine at all 4), which are particularly irrelevant due to the “fact-intensive” nature of

 the government speech test. See PEN Am. Ctr., Inc. v. Escambia Cnty. Sch. Bd., 711 F.

 Supp. 3d 1325, 1331 (N.D. Fla. 2024). Those arguments did not persuade the Court



 3
   See Dean v. Warren, 12 F.4th 1248, 1265-66 (11th Cir. 2021) (concerning a state university
 cheerleading team, which the State controlled because “[i]t would be highly unusual for a public
 university to allow its cheerleaders—while they are in uniform on the field at a football game—to say
 or do whatever they please,” such as “root for its rival”); Leake v. Drinkard, 14 F.4th 1242, 1250 (11th
 Cir. 2021) (concerning a parade for which the government “maintain[ed] direct control over the
 messages conveyed” in the parade).
 4
   See, e.g., Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 576-77 (1995)
 (concerning compelled private speech, not government speech); 303 Creative LLC v. Elenis, 600 U.S.
 570 (2023) (same); Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 583 (1998) (concerning non-
 binding considerations for arts funding, not government speech); Ark. Educ. Television Comm’n v. Forbes,
 523 U.S. 666, 669 (1998) (concerning a “nonpublic for[um],” not government speech).



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 to grant the State Defendants’ motion to dismiss, and they are no more persuasive

 now.

        For similar reasons, the State Defendants’ reliance on McGriff v. City of Miami

 Beach is unavailing. (State Br. at 17.) The State Defendants insist that McGriff is

 “largely indistinguishable” and therefore binds this Court (id. at 26 n. 8), but McGriff

 is rife with facts that demonstrate it is distinct from this case. McGriff involved a city

 art exhibition in which the city contracted to commission and fund the artists’ work

 and required artists and production companies to relinquish all rights to the artwork,

 including right of dissemination, in order to exhibit the work. 84 F.4th 1330, 1332-34

 (11th Cir. 2023). In other words, artists who exhibited their work in the city exhibition

 were required to cede all control, including concerning any future dissemination of the

 artwork, in order to do so. In contrast, school libraries—by definition—do not have

 such control over authors or publishers whose books are on their shelves, and the State

 Defendants have not produced any evidence of such control. (See State Br. at 31 n. 10

 (admitting that “Florida has not, for instance, conditioned a book’s presence in a

 public-school library on the author’s or publisher’s willingness to alter the contents of

 the book in all its circulations”).)

        Just as this Court recognized that monuments in a park meaningfully differ from

 public school libraries, so too does a city art exhibition like the one at issue in McGriff.

 (Order at 19 (quoting GLBT Youth in Iowa School Task Force v. Reynolds, 114 F.4th 660,

 667 (8th Cir. 2024).) In finding that the city art exhibition was government speech,

 the Eleventh Circuit relied on “the government’s own long historical use of artistic

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 expression to convey messages.” McGriff, 84 F.4th at 1336. No such history exists for

 libraries, and the State Defendants present no evidence suggesting that Florida school

 libraries have historically conveyed a message from the State of Florida. It would

 make no sense for a library to communicate the government’s message, because a

 “well-appointed school library could include copies of Plato’s The Republic,

 Machiavelli’s The Prince, Thomas Hobbes’ Leviathan, Karl Marx and Freidrich

 Engels’ Das Kapital, Adolph Hitler’s Mein Kampf, and Alexis de Tocqueville’s

 Democracy in America. . . . [I]f placing these books on the shelf of public school libraries

 constitutes government speech, the State ‘is babbling prodigiously and incoherently.’”

 GLBT Youth in Iowa Schools Task Force v. Reynolds, 114 F.4th 660, 668 (8th Cir. 2024)

 (quoting Matal, 582 U.S. at 236).

        The two D.C. Circuit cases on which the State Defendants rely—People for the

 Ethical Treatment of Animals, Inc. v. Gittens and Bryant v. Gates—are completely

 inapplicable. As the State Defendants themselves admit, neither case “concerns

 library books” and the passing reference in each to libraries is dicta. (State Br. at 19 n.

 5.) Neither case applied the Supreme Court’s three-part government speech test nor

 considered facts related to libraries, and every court to have considered the issue has

 held that the First Amendment right to freedom of speech exists in public libraries,

 including public school libraries.     (See Plaintiffs’ Mot. at 27 n. 15.)       The State

 Defendants ask this Court to ignore any library cases that do not explicitly consider

 government speech, but they ignore the fact that cases holding that the right to freedom




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 of speech applies in libraries necessarily mean that the removal of library books is not

 government speech. 5

        In denying the State Defendants’ motion to dismiss, the Court instructed the

 State Defendants to provide it with “a robust enough record” before it would “make

 the finding [the] State Defendants seek.”             (Order at 21 (citation and quotations

 omitted).) Ignoring this Court’s instruction, the State Defendants have not supplied

 the Court with any facts that support their government speech argument or that dispute

 Plaintiffs’ facts. They have not met their burden. Their government speech argument

 should be rejected once again.

        B.      Plaintiffs Succeed On The Overbreadth Analysis.

                1.      Defendants Misapply The NetChoice Decision.

        Contrary to the State Defendants’ argument, NetChoice does not require

 Plaintiffs to litigate overbreadth challenges as mass-scale as-applied challenges. 6

 Moody v. NetChoice, LLC, 603 U.S. 707, 717 (2024). Just as the parties in the NetChoice

 cases are not required to analyze how the laws apply to the technology companies’

 content moderation of specific posts by specific users on various platforms, the parties



 5
  For the same reason, the Eighth Circuit’s holding in GLBT Youth concerning government speech was
 not dicta as the State Defendants contend. Had the Eighth Circuit been persuaded that the removal
 of school library books was government speech, the plaintiffs would not have had standing to bring
 their claims because they would not have suffered a First Amendment injury. The Eighth Circuit’s
 rejection of the government speech doctrine was therefore essential to its holding that the plaintiffs
 had standing to bring their First Amendment claims.
 6
   “The Supreme Court’s opinion in Moody [NetChoice] . . . did not break new ground; the Court has
 long espoused these requirements for a facial overbreadth challenge.” Free Speech Coalition, Inc., v.
 Rokita, 2024 WL 5055864, at *3 (S.D. Ind. July 25, 2024) (citing cases).



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 in this case are not required to “catalogue the books in public-school libraries” that

 implicate the Challenged Provisions. See United States v. Hansen, 599 U.S. 762, 783,

 n.5 (2023) (“Overbreadth doctrine trafficks in hypotheticals”); United States v. Stevens,

 559 U.S. 460, 475-77 (2010) (analyzing categories of protected speech swept up in the

 overbroad statute, such as depictions of hunting and livestock slaughter); Willson v.

 City of Bel-Nor, Missouri, 924 F.3d 995, 1002 (8th Cir. 2019) (stating that plaintiff’s

 “examples of expressive conduct that are prohibited” by the law illustrate that the law

 is overbroad). The categories of non-obscene books that have been removed under the

 Challenged Provisions—identified by Plaintiffs in their motion and supported by

 undisputed evidence—are more than sufficient for a finding of overbreadth. (See

 Plaintiffs’ Mot. at 44-45.)

        Both this case and the NetChoice cases involve overbreadth challenges, but the

 similarities end there. In the NetChoice cases, the scope of the laws at issue was far

 from clear. Those laws regulate technology companies’ content moderation (filtering,

 altering, prioritizing, and labeling) of certain user posts (messages, videos, and other

 content) and require individualized explanation to users if a platform removes or alters

 their post. NetChoice, LLC, 603 U.S. at 717. The Supreme Court remanded for

 discovery to determine which websites and apps are within the scope of the laws, how

 those websites and apps function, whether content moderation of each type of function




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 “creates an expressive product,” 7 and whether the individualized explanation

 requirement would unduly burden expression. Id. at 724-26. Here, in contrast, the

 scope of the Challenged Provisions is readily apparent—they prohibit school library

 materials that contain content that “describes sexual conduct” or so-called

 “pornographic” content—and the State Defendants do not dispute that such materials

 are primarily books.8

         The State Defendants erroneously assert that NetChoice requires Plaintiffs to

 “catalogue the books in public-school libraries” to identify which are obscene and

 which are not. (State Br. at 36.) Their position, “if accepted, would essentially require

 the parties (and Court) to read hundreds—if not thousands—of books to determine

 whether there is” content that implicates the Challenged Provisions and “if so, how

 that [content] fits into the larger work.” See Penguin Random House LLC v. Robbins, No.

 4:23-CV-00478, 2025 WL 1156545, at *17 (S.D. Iowa Mar. 25, 2025). But Plaintiffs

 have not brought as-applied challenges concerning the removal of hundreds of specific

 books. Plaintiffs identify examples of books that have been removed to illustrate that

 the Challenged Provisions require the removal of numerous categories of non-obscene

 books without regard to their value as a whole—everything from classic novels and


 7
  The First Amendment generally protects expressive activities, not nonexpressive activities. See, e.g.,
 NetChoice, 603 U.S. at 725-26.
 8
  Other courts have similarly found that, unlike in the NetChoice cases, the scope of the challenged laws
 in their cases is clear. See, e.g., Rokita, 2024 WL 5055864, at *3 (finding that, unlike in NetChoice, there
 are “no potentially unknown applications of the [challenged] statute; ‘the Act’s meaning is clear’”);
 NetChoice, LLC v. Reyes, 2024 WL 4135626, at *9 n. 92 (D. Utah Sept. 10, 2024) (finding that, unlike
 in the NetChoice cases, the scope of the challenged statute is easily determined).



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 histories to books about how to avoid being victimized by sexual assault. (Plaintiffs’

 Mot. at 44-45.) That evidence is undisputed. The State Defendants do not offer any

 evidence of their own on summary judgment, nor do they dispute that the Challenged

 Provisions mandate the removal of a book within these categories if it contains merely

 a single description of sexual conduct or so-called “pornographic content.” 9

                2.      The Constitutional Applications Of The Challenged Provisions
                        Are Few, If Any.

        Despite the State Defendants’ contentions, both the law and the undisputed

 facts demonstrate that there are few, if any, constitutional applications of the

 Challenged Provisions because there are few, if any, books that are obscene for minors

 on Florida school library shelves. As the State Defendants admit, preexisting Florida

 law prohibited the inclusion of books that are obscene for minors in Florida school

 libraries. See Fla. Stat. s. 1006.28(2)(a)(2)(b)(I), 847.012 (precluding library books that

 are “harmful to minors”); Simmons v. State, 944 So.2d 317, 325 (Fla. 2006) (construing

 “harmful to minors” as currently defined by Section 847.001(7) as consistent with the

 obscenity standard as applied to minors set forth in Miller v. California, 413 U.S. 15

 (1972), and Ginsberg v. New York, 390 U.S. 629 (1968)). Violations of that preexisting

 law are punishable as third-degree felonies under Florida law.                     See Fla Stat. s.

 847.012(5), (6).      This alone demonstrates that there are likely very few, if any,



 9
  Courts commonly take “judicial notice of the contents of artistic works” for the purpose of evaluating
 facial challenges under the First Amendment. See Order Granting Motion For Preliminary Injunction
 at 26-27, Penguin Random House v. Robbins, Case No. 4:23-cv-000478 (S.D. Iowa Mar. 25, 2025)
 (collecting cases).



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 constitutional applications of the Challenged Provisions. See Penguin Random House,

 2025 WL 1156545, at *19 (holding that, where Iowa had a preexisting statute

 forbidding material that was obscene for minors, there were “almost no constitutional

 applications” of a similar law “because no books containing obscene material under

 the Ginsberg standard should have been in school libraries before the law was passed,

 and thus the law should not have resulted in the (constitutional) removal of any such

 books”); Rokita, 2024 WL 5055864, at *5 (applying the overbreadth test from

 NetChoice and explaining that “suppression of a website that is 100% obscene is not

 part of the [statute’s] legitimate sweep” because a different statute “already” prohibits

 obscenity).

        Nonetheless, the State Defendants assert that there is “no evidence” to support

 the argument that “material obscene for children will rarely find its way into a library.”

 (State Br. at 35-36.) This assertion ignores the Florida statute that prohibits school

 library books that are obscene for minors. Even if the State Defendants had presented

 any evidence that Florida school libraries contain books that are obscene for minors—

 which they did not do—the solution would be to enforce the statute that prohibits

 school library books that are obscene for minors. Plaintiffs do not challenge that

 statute, which is consistent with the First Amendment and the Supreme Court’s

 decisions in Miller and Erznoznik v. City of Jacksonville, 422 U.S. 205 (1975).

        The State Defendants also ignore the factual record. Florida media specialist

 Christina Hackey explained that in her 19 years of experience working in media

 centers and classrooms across multiple Florida school districts, she had never seen

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 obscene materials in public school libraries. (See Ex. C to Plaintiffs’ Mot. ¶¶ 4, 5, 26.

 See also Ex. A to Plaintiffs’ Mot. ¶ 7.) The State Defendants offer no evidence to rebut

 Hackey’s declaration. In fact, they offer no evidence whatsoever to suggest that there

 are any constitutional applications of the Challenged Provisions (i.e. obscene materials

 in Florida school libraries).

        The State Defendants erroneously assert that the constitutional applications, if

 any, of the Challenged Provisions must be evaluated separately for every age group of

 students. But for the First Amendment overbreadth inquiry, courts focus on whether

 a law prohibits older minors and adults from accessing non-obscene material, even if

 that material might otherwise be obscene for younger minors. See, e.g., Virginia v. Am.

 Booksellers, Inc., 484 U.S. 383, 394-95 (1988) (explaining that a statute that applied to

 “a huge number of works” that are non-obscene for older minors or adults “would

 raise correspondingly greater First Amendment questions”); Shipley, Inc. v. Long, 454

 F. Supp. 2d 819, 829-830 (E.D. Ark. 2004) (holding that a statute prohibiting “material

 which is only harmful to the youngest of minors . . . even though such material would

 not be harmful to adults or older minors” was unconstitutionally overbroad because it

 “effectively stifles the access of adults and older minors to communications and

 material they are entitled to receive and view”); Fayetteville Public Library v. Crawford

 County, Arkansas, 684 F. Supp. 3d 879, 904–905 (W.D. Ark. 2023) (similar).

        Moreover, there is no evidence in the record that books that implicate the

 Challenged Provisions have been made available to the youngest students, which

 makes sense: “it is highly doubtful that elementary school students would have the

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 capacity to read or comprehend” such books. See Penguin Random House, 2025 WL

 1156545, at *20. Considering such “hypothetical-but-unrealistic applications” of the

 Challenged Provisions to elementary school students would “flip First Amendment

 principles on their head by allowing [the Challenged Provisions’] breadth to be a

 reason for sustaining the law against a facial constitutional challenge. Ordinarily, the

 First Amendment works the other way around, with broader laws being subject to

 greater constitutional scrutiny.” Id. (citing Boos v. Barry, 485 U.S. 312, 319 (1988);

 Consol. Edison Co. of New York v. Pub. Serv. Comm’n of New York, 447 U.S. 530, 537

 (1980)). The State Defendants’ arguments further demonstrate that the Challenged

 Provisions are a solution in search of a problem. The Court should reject these

 arguments.

              3.     The Challenged Provisions Are Unconstitutional Under The
                     Nonpublic Forum Standard.

       The State Defendants concede that, if the First Amendment applies to the

 removal of school library books, the nonpublic forum standard applies. (See State Br.

 at 32-35.) But the State Defendants mischaracterize the nonpublic forum standard as

 the “Hazelwood standard,” referring to the particular application of the nonpublic

 forum standard in Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260 (1988).) As the

 Eleventh Circuit and this Court have recognized, Hazelwood concerns the application

 of the nonpublic forum standard in the context of the compulsory curricular

 environment—which differs meaningfully from the voluntary school library

 environment at issue in this case. (See Order at 25 (quoting and citing Searcey v. Harris,



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 888 F.2d 1314, 1319 (11th Cir. 1989); Virgil v. Sch. Bd. of Columbia Cnty., Fla., 862 F.2d

 1517, 1521-23 (11th Cir. 1989).)

         The State Defendants misapply the nonpublic forum standard. Under the

 nonpublic forum standard, courts evaluate First Amendment restrictions by assessing

 whether they are reasonable in light of the purpose of the particular forum in which

 the restriction is applied. See Cornelius v. NAACP Legal Defense Fund, 473 U.S. 788, 806

 (1985) (holding that in a nonpublic forum, First Amendment restrictions must be

 “reasonable in light of the purposes served by the forum”). 10 Here, the Challenged

 Provisions restrict First Amendment rights in school libraries, which is a voluntary

 environment that differs meaningfully from the compulsory school curriculum that

 was at issue in Hazelwood.             As courts have recognized—and despite the State

 Defendants’ contentions to the contrary—the difference between First Amendment

 rights in captive, compulsory environments and in an environment of voluntary

 inquiry is stark. See Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457

 U.S. 853, 868–69 (1982) (plurality) (distinguishing between the school library’s

 “regime of voluntary inquiry” that is “wholly optional” and the “prescribed


 10
    Puzzlingly, the State Defendants also separately advocate for a more stringent standard of
 constitutional review than Plaintiffs seek. (State Br. at 37 (contending that Plaintiffs must “show that
 [the unconstitutional applications of the Challenged Provisions] would fail strict scrutiny”).) Plaintiffs
 do not seek application of the strict scrutiny standard and, moreover, under strict scrutiny review it is
 the State—not Plaintiffs—who bear the burden of establishing a compelling interest for the law and
 that the law is narrowly tailored to achieve that interest. See Johnson v. California, 543 U.S. 499, 505
 (2005) (“Under strict scrutiny, the government has the burden of proving” that the restriction is a
 “narrowly tailored measure[] that further[s] compelling government interests.”) Moreover, it would
 make no sense to first apply rational basis review and then to apply strict scrutiny, as Plaintiffs propose.
 (See State Br. at 32, 37.)



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 curriculum”); Virgil, 862 F.2d at 1522–25 (distinguishing between removal of

 curricular books and school library books)11; Penguin Random House, 2025 WL

 1156545, at *10(distinguishing between “captive settings” and school libraries, where

 “books remain harmlessly on the shelves except with respect to students who want to

 read them”).

        Even setting aside the fundamental differences between the compulsory nature

 of the curricular environment at issue in Hazelwood and the voluntary nature of school

 libraries, Hazelwood does not (as the State Defendants argue) justify the sweeping reach

 of the Challenged Provisions. The pervasive theme throughout Hazelwood and its

 progeny is deference to the discretion of local school officials and educators—not to a

 one-size-fits-all state mandate that eliminates that discretion. See, e.g., Hazelwood, 484

 U.S. at 267 (explaining that the “determination of what manner or speech in the

 classroom or in school assembly is inappropriate properly rests with the school

 board”—not the State (quoting Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 683

 (1986)). Hazelwood and similar cases recognize that educators and schools—not state

 legislatures—are in the best position to evaluate the needs of their students, taking into

 account the values of their local communities and the age and maturity level of the

 students.    See, e.g., id. at 271 (holding that educators are “entitled to substantial




 11
   The State Defendants contend that Virgil “has no import” because it did not concern school library
 books. But in Virgil, the Eleventh Circuit clearly distinguished between the curricular books that were
 at issue and a “ban[]” on books that would otherwise be “available in the school library.” Id. at 1521-
 23, 1525. That distinction exists in Hazelwood as well.



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 deference”). See also Milliken v. Bradley, 418 U.S. 717, 741-42 (1974) (explaining that

 “[n]o single tradition in public education is more deeply rooted than local control over

 the operation of schools,” because “local control over the educational process affords

 citizens an opportunity to participate in decision-making, permits the structuring of

 school programs to fit local needs, and encourages ‘experimentation, innovation, and

 a healthy competition for educational excellence’”).

        The State Defendants recognize the importance of a “school’s decisions about

 its own materials” (State Br. at 32) but again “fail to grapple with the fact that

 discretion is what this statute removes.”        (Order at 23-24 (explaining that the

 Challenged Provisions are “a regime built not around a librarian’s sound judgment but

 rather any parent’s objection, however capricious”).) Rather than permitting trained

 librarians to exercise their authority consistent with their professional training and the

 values of their school communities, the State Defendants have supplanted librarian

 discretion with their own judgment and agenda. The State Defendants’ desire to

 “shield students” (State Br. at 32) from library books through the Challenged

 Provisions ignores the Supreme Court’s admonition that the government’s power to

 protect children from harm “does not include a free-floating power to restrict the ideas

 to which children may be exposed.” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 794

 (2011). See also W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943) (“If

 there is any fixed star in our constitutional constellation, it is that no official, high or

 petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other

 matters of opinion”).

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        As Plaintiffs explained in their motion, under the nonpublic forum standard,

 the Challenged Provisions are unconstitutionally overbroad because a substantial

 number of the Challenged Provisions’ applications are unconstitutional when judged

 in relation to the statute’s plainly legitimate sweep. NetChoice, 603 U.S. at 723 (citing

 Bonta, 594 U.S. at 615 (finding provision facially unconstitutional)). An application

 of the Challenged Provisions is constitutional only if it is reasonable in light of the

 purpose of a school library. See also Counts v. Cedarville Sch. Dist., 295 F. Supp. 2d 996,

 1002 (W.D. Ark. 2003) (requiring the State to show that book-removal decisions were

 “justified by some exigency”). The broad content-based restrictions imposed by the

 Challenged Provisions, which prohibit consideration of the value of the book as a

 whole, are inconsistent with the purpose of school libraries.

        Because the Challenged Provisions are a statewide mandate with the purported

 purpose of keeping sexually explicit content out of school libraries, their

 reasonableness must be evaluated using the Supreme Court’s standard that governs

 speech concerning sexual content—the obscenity standard—which requires

 consideration of the value of the book as a whole. See Miller, 413 U.S. at 24. When

 applied to minors, the Miller obscenity standard accounts for the age of the reader. See

 Erznoznik, 422 U.S. at 213–14.12 As Plaintiffs have demonstrated, the non-obscene

 books that must be removed from school library shelves under the Challenged


 12
   The State Defendants rely on Ginsberg, which strongly supports Plaintiffs’ argument. (State Br. at
 31.) Ginsberg sets forth an obscenity standard that is consistent with Miller as applied to minors. 390
 U.S. at 646.



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 Provisions are vast in comparison to the few, if any, books that could constitutionally

 be removed under the obscenity standard as applied to minors.

        Miller’s contextual approach does not mean that schools are powerless to

 remove inappropriate books from school libraries or that parents are powerless to

 regulate which books their children can access in school libraries. 13 Pico suggested that

 school districts may be able to remove library books that are “pervasively vulgar” or

 not “educational[ly] suitab[le].” See Pico, 475 U.S. at 871. Books that are pervasively

 vulgar or not educationally suitable may also be obscene as to minors under the Miller

 test, which requires consideration of both the book’s appeal to prurient interests and

 its value as a whole. Miller also requires consideration of community standards, which

 may differ among school districts and across the state. Even as to books that are not

 obscene under the Miller standard, school librarians may also consider vulgarity and

 educational suitability when considering which books should be on school library

 shelves. Simply put, the Miller obscenity standard as applied to minors permits a

 contextual approach that allows school librarians and school districts to continue to

 curate school library books as they always have by considering their educational

 suitability, the needs of their school communities, and the value of each book as a

 whole.




 13
   Parents of children in Florida schools have long had the power to choose which school library books
 their children can and cannot access. (See, e.g., Exs. A-5 and A-6 to Plaintiffs’ Mot.) These parental
 rights allow Florida parents to ensure that their own children are exposed only to school library books
 that those parents deem appropriate for their own children.


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                                    CONCLUSION

       For the foregoing reasons, this Court should deny Defendants’ motions for

 summary judgment and grant Plaintiffs’ motion for summary judgment, ordering (1)

 that Section 1006.28(2)(a)(2)(b)(II)’s prohibition on material made available in a

 school or classroom library that “describes sexual conduct” is unconstitutional and (2)

 Section 1006.28(2)(a)(2)(b)(I)’s prohibition on material made available in a school or

 classroom library that is “pornographic” is synonymous with the term “harmful to

 minors” as defined by Section 847.001(7) or, in the alternative, is unconstitutional.

 Dated: April 29, 2025                          By: /s/ David A. Karp
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